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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 RORY GRIFFIN,

                       Plaintiff,

 v.                                             Case No. 21-cv-436-NJR

 DENNIS LARSON,

                       Defendant.


                         MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

       This matter is before the Court for case management purposes to assign counsel to

Plaintiff Rory Griffin. Civil litigants do not have a constitutional or statutory right to

counsel. Pruitt v. Mote, 503 F.3d 647, 649 (7th Cir. 2007); Zarnes v. Rhodes, 64 F.3d 285, 288

(7th Cir. 1995). Under 28 U.S.C. § 1915(e)(1), however, this Court has discretion to recruit

counsel to represent indigents in appropriate cases. Johnson v. Doughty, 433 F.3d 1001,

1006 (7th Cir. 2006). In evaluating whether counsel should be appointed, this Court must

examine (what are known as) the Pruitt factors and apply them to the specific

circumstances of this case. Santiago v. Walls, 599 F.3d 749, 760 (7th Cir. 2010). The Court

must ask: “‘(1) has the indigent plaintiff made a reasonable attempt to obtain counsel or

been effectively precluded from doing so; and if so, (2) given the difficulty of the case,

does the plaintiff appear competent to litigate it himself?’” Id. at 761, quoting Pruitt, 503

F.3d at 654.

       The circumstances presented in this case warrant recruitment of counsel.

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See Santiago, 599 F.3d at 765 (“The situation here is qualitatively different from typical

prison litigation.”).

       For the reasons stated above, and in accordance with 28 U.S.C. § 1915(e)(1) and

Local Rule(s) 83.1(i) and 83.9(b), attorney Brian O’Connor Watson of Riley Safer Holmes

& Cancila is ASSIGNED to represent Griffin in this civil rights case. On or before June

14, 2022, assigned counsel shall enter his appearance in this case. Attorney O’Connor is

free to share responsibilities with an associate who is also admitted to practice in this

district court. Assigned counsel must enter the case and shall make first contact with

Griffin, however, explaining that an associate may also be working on the case. Griffin

should wait for his attorney to contact him in order to allow counsel an opportunity to

review the court file.

       The Clerk of Court is DIRECTED to transmit this Order and a copy of the docket

to attorney O’Connor. The electronic case file is available through the Case

Management/Electronic Case Filing (“CM/ECF”) system.

       Now that counsel has been assigned, Griffin shall not personally file anything in

this case, except a pleading that asks that he be allowed to have counsel withdraw from

representation. If counsel is allowed to withdraw at the request of Griffin, there is no

guarantee the Court will appoint other counsel to represent Griffin.

       Counsel is ADVISED to consult Local Rules 83.8-83.14 regarding pro bono case

procedures.

       Because Griffin is proceeding in forma pauperis, he may proceed without prepayment

of the filing fee. If he should recover damages in this action (either by verdict or

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settlement), Griffin and his counsel are ADVISED that Griffin will be obligated to pay

the filing fee out of his monetary recovery.

       Section 2.6 of this Court’s Plan for the Administration of the District Court Fund

provides for a degree of reimbursement of pro bono counsel’s out-of-pocket expenses, as

funds are available. The Plan can be found on the Court’s website, as well as the form

motion    for   out-of-pocket    expenses      and   an   Authorization/Certification      for

Reimbursement. Any motion for reimbursement must be made within 30 days from the

entry of judgment, or reimbursement will be waived. See SDIL-LR 83.13. The funds

available for this purpose are limited, however, and counsel should use the utmost care

when incurring out-of-pocket costs. In no event will funds be reimbursed if the

expenditure is found to be without a proper basis. The Court has no authority to pay

attorney’s fees in this case. No portion of a partial filing fee assessed pursuant to 28 U.S.C.

§ 1915 will be reimbursed. Assigned counsel may move for an exemption from PACER

fees for this case by filing a motion in this case seeking an exemption from these fees.

       The district court has entered into an agreement with attorney Alan Mills and the

Uptown People’s Law Center to consult with lawyers on issues in these cases, including

substantive and procedural questions (both legal and practical) and dealing with the

client. Mr. Mills can be reached by email at alan@uplcchicago.org. He can also be reached

by phone at 773-769-1411; however, email is his preferred means of contact. His services

are available to counsel free of charge, as long as counsel is representing a prisoner pro

bono on a case in the district. In addition, the Court’s website, www.ilsd.uscourts.gov,

includes a guide for attorneys which is available as a resource. It is listed under “Rules

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and Forms” as “Guide for Attorneys Recruited to Represent Plaintiffs in Section 1983

Cases.” The Court encourages appointed counsel to consult it and Mr. Mills as needed.

      As of this date, Griffin’s contact information is:

                            Rory Griffin, Y35204
                  BIG MUDDY RIVER CORRECTIONAL CENTER
                          251 N Illinois Highway 37
                                  PO Box 900
                                 Ina, IL 62846


      IT IS SO ORDERED.

      DATED: May 31, 2022


                                                 ____________________________
                                                 NANCY J. ROSENSTENGEL
                                                 Chief U.S. District Judge




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